Case 1:23-cv-00528-TMH      Document 88     Filed 09/13/24   Page 1 of 1 PageID #: 1936




                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELAWARE

  WOLFRAM ARNOLD, ERIK
  FROESE, TRACY HAWKINS,
  JOSEPH KILLIAN, LAURA CHAN
  PYTLARZ, and ANDREW
  SCHLAIKJER,


                     Plaintiffs,            C.A. No. 1:23-cv-528-JLH-CJB

        v.

  X CORP. f/k/a TWITTER, INC., X
  HOLDINGS CORP. f/k/a X
  HOLDINGS I, INC. and ELON
  MUSK,

                     Defendants.



                             NOTICE OF SUBPOENA

       PLEASE TAKE NOTICE, pursuant to Federal Rule of Civil Procedure 45,

 that the Plaintiffs intend to serve a Subpoena, in the form attached hereto, on

 Jason Calacanis on September 13, 2024 or as soon thereafter as service may be

 effectuated.

  Dated: September 13, 2024                 /s/ Joseph L. Christensen
                                            Joseph L. Christensen (#5146)
                                            1201 N. Market Street, Suite 1404
                                            Wilmington, Delaware 19801
                                            Tel: (302) 212-4330
                                            joe@christensendougherty.com

                                            Attorneys for Plaintiffs
